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                                 UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PENDLETON DIVISION

MICHAEL PEARSON, JAMES SUTER,                      Case No. 2:24-cv-00362-HL
SILVIA SUTER, and JEANNIE STRANGE,
on behalf of themselves and all others similarly   PLAINTIFFS’ OPPOSITION TO
situated,                                          DEFENDANTS’ JOINT MOTION FOR
                                                   EXTENSION OF TIME AND
                   Plaintiffs,                     PLAINTIFFS’ REQUEST FOR A STATUS
                                                   CONFERENCE
       v.

PORT OF MORROW, LAMB WESTON
HOLDINGS, INC., MADISON RANCHES,
INC., THREEMILE CANYON FARMS, LLC,
BEEF NORTHWEST FEEDERS, LLC, and
JOHN DOES 1-10,

                   Defendants.




PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ JOINT MOTION FOR EXTENSION OF TIME
AND PLAINTIFFS’ REQUEST FOR A STATUS CONFERENCE
                                          INTRODUCTION

        This case responds to a public health emergency. Thousands of people in Umatilla and

Morrow Counties do not have ready access to clean drinking water. Amended Class Action

Complaint ¶ 1 (Dkt. No. 17). The cause? Defendants have dumped, and continue to dump,

overwhelming amounts of nitrates onto land in the area, and these nitrates percolate down to the

water table on which residents rely for their water. Id. ¶¶ 2–3. The water is now so contaminated

that drinking it is acutely dangerous. Id. ¶¶ 43–45. For people who are most susceptible to the

effects of nitrates—including babies under six months old—drinking this water can even be fatal.

Id.

        Time is therefore of the essence in this case. The best way to ensure that this litigation

does not stall, and that Plaintiffs and other members of the proposed Class are not exposed to

contaminated water for any longer than is necessary, is to set a full case schedule that lays out

short but realistic deadlines for all parties.

        Defendants’ Joint Motion for Extension of Time achieves neither of these objectives.

Granting Defendants’ Motion in its current formulation, without vacating other deadlines already

set by this Court, would create an untenable schedule that would severely prejudice Plaintiffs. On

the other hand, granting Defendants’ Motion and vacating other deadlines, but without setting

out a new case schedule, would be tantamount to staying discovery and risks prolonging the time

Umatilla and Morrow County residents remain exposed to dangerous contaminants.

        Plaintiffs therefore respectfully request that the Court deny Defendants’ Joint Motion for

Extension of Time or, if it grants their request, set a full case schedule that is more appropriate

for this case than the current one. Furthermore, as an alternative, Plaintiffs request a status

conference with the Court to set a full case schedule that sets reasonable deadlines for all parties.



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AND PLAINTIFFS’ REQUEST FOR A STATUS CONFERENCE
                                              ARGUMENT

       Plaintiffs oppose Defendants’ Motion, which extends Defendants’ time to file responsive

pleadings to Plaintiffs’ Complaint but would otherwise leave the current schedule unaltered.

Plaintiffs do not inherently oppose Defendants’ request to extend their deadline to respond to

Plaintiffs’ Amended Complaint to June 10, 2024. But if this Court grants Defendants’ request in

isolation—while leaving all other deadlines in the case unchanged—Plaintiffs will be required to

complete all discovery, file all dispositive motions, and complete any pretrial motions within

three weeks of receiving Defendants’ responsive pleadings. See Discovery and Pretrial

Scheduling Order, Dkt. No. 2 (Feb. 28, 2024) (ordering that the parties complete these litigation

steps within 120 days of the Order, or by June 27, 2024). This is unworkable and would cause

extreme prejudice to Plaintiffs.

       Furthermore, although Defendants did not explicitly request that all current deadlines be

vacated, during meet and confers they have asserted that all deadlines should be suspended until

after a ruling on their motions to dismiss and potentially until after rulings on motions brought by

new defendants. Plaintiffs would oppose vacating all current discovery and pretrial deadlines

without replacing them with new proposed deadlines. Doing so would be tantamount to staying

discovery in the case altogether, needlessly prolonging litigation and burdening the Court with a

drawn-out schedule. This case is about a public health crisis, and every additional day of delay

compounds the harm Plaintiffs and other Class members are suffering.

       As an alternative to Defendants’ motion, Plaintiffs request a status conference with the

Court, pursuant to Local Rule 16-2(c) and under Federal Rule of Civil Procedure 16, to set a full

case schedule. Plaintiffs propose the following schedule, which extends Defendants’ deadline to




PAGE 2 - PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ JOINT MOTION FOR EXTENSION OF TIME
AND PLAINTIFFS’ REQUEST FOR A STATUS CONFERENCE
respond to Plaintiffs’ Amended Complaint to June 10, 2024, but also sets prompt, reasonable

deadlines for other litigation milestones:


 Defendants’ Motions to Dismiss                                            June 10, 2024

 Plaintiffs’ Opposition to Motions to Dismiss                              July 12, 2024

 Defendants’ Replies in Support of Motions to Dismiss                      August 9, 2024

 Plaintiffs’ Expert List                                                   March 14, 2025

 Defendants’ Expert Lists                                                  March 28, 2025

 Plaintiffs’ Motion for Class Certification                                June 5, 2025

 Defendants’ Opposition to Motion for Class Certification                  July 10, 2025

 Plaintiffs’ Reply in Support of Class Certification                       August 7, 2025

 Close of Discovery                                                        September 18, 2025

 Motions for Summary Judgment and Daubert Motions                          September 18, 2025

 Opposition to Motions for Summary Judgment and Dauberts                   October 16, 2025

 Replies in Support of Summary Judgment and Daubert Motions                November 13, 2025



       As Defendants note, Plaintiffs do intend to add additional defendants in mid-June, after

RCRA’s 90-day notice period has elapsed as to those new defendants. However, the addition of

defendants is not a reason to essentially stay the litigation as to the five Defendants currently in

the suit, who were served with RCRA notices in 2023 and put on notice of this action in

February 2024. RCRA’s notice requirement is intended to give agencies and alleged RCRA

violators a “nonadversarial period to achieve compliance with RCRA regulations.” Halstrom v.

Tillamook Cnty., 493 U.S. 20, 32 (1989). That purpose has been satisfied as to the five current



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AND PLAINTIFFS’ REQUEST FOR A STATUS CONFERENCE
Defendants; there is no reason the suit cannot move forward as to them while the RCRA notice

period runs as to other defendants.

       Further, adding new defendants will not affect the allegations against the current

Defendants. And new defendants will likely request 60 days to respond to a Second Amended

Complaint, which would push response deadlines into August 2024—six months after the

operative complaint was filed against the current Defendants.1

                                          CONCLUSION

       Plaintiffs respectfully request that the Court deny Defendants’ Joint Motion for Extension

of Time, or set a full case schedule, and grant Plaintiffs’ request for a status conference.



DATED: May 1, 2024                             Respectfully submitted,

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  However, new defendants may not need 60 days to respond to the Second Amended Complaint.
They may be able to adopt much or all of the current Defendants’ briefing, as all defendants will
face substantially the same claims.
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AND PLAINTIFFS’ REQUEST FOR A STATUS CONFERENCE
